                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 STUDENTS FOR FAIR ADMISSIONS,                  )
 INC.,                                          )
                                                )
                              Plaintiffs,       )
                                                )         1:14CV954
 v.                                             )
                                                )
 THE UNIVERSITY OF NORTH                        )
 CAROLINA AT CHAPEL HILL, et al.,               )
                                                )
                               Defendants.      )
                                                )


                                    TRIAL PROTOCOL

       The above-captioned matter is scheduled for a bench trial beginning on November 8,

2020. The parties estimate the duration of the trial to be approximately 10 days. The trial

will begin at 9:30 a.m. on each day and will end at approximately 5:00 p.m., with two 15-

minute breaks, one during the morning and the other in the afternoon. There will be 60

minutes for lunch to begin at approximately 12:30 p.m. each day.

       With the input and agreement of the parties (collectively, plaintiff Students for Fair

Admissions, Inc. (“SFFA”), the UNC-defendants, and Student-Intervenors) and pursuant to

the Court’s guidance at the September 25, 2020 pre-trial status conference, the Court finds

good cause to issue this Trial Protocol, memorializing the agreements of the parties and the

Court that will enable a bench trial to proceed in open court while protecting the health and

safety of all parties, counsel, Court personnel, witnesses, and interested parties considering

the ongoing COVID-19 pandemic. Accordingly, the Court enters the following Order:


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1.     LIMITATIONS ON NUMBER OF PEOPLE IN THE COURTROOM

The parties are aware of and will comply with all guidelines set forth in Second Amended
Standing Order 12, Amended Standing Order 13, and Standing Order 16. Further counsel
for the parties shall ensure that all persons accompanying them to Court or who will appear
pursuant to their request or subpoena will be provided these standing Orders or otherwise
informed of their contents.

       1.1    Consistent with guidance set forth by Executive Order of the Governor of
North Carolina, including Executive Order 169, and Amended Standing Order 13, no more
than twenty-five (25) people shall be permitted in the courtroom at any given time.

       1.2     Pursuant to Second Amended Standing Order 12 all entrants to the
Courthouse are required to wear an appropriate face mask or cloth covering in all public
spaces, including courtrooms and security checkpoints. However, pursuant to Standing
Order 16, those at counsel table who are actively examining a witness or addressing the
Court may remove their mask for such purpose (this is subject to any witness or individual
who is unable to comply with such restriction but is required to attend and complies with the
requirements of Second Amended Standing Order 12). A witness also may also request the
Court’s permission to remove his or her face covering while on the witness stand.

       1.3     Pursuant to Standing Order 16, all attendees for a party (e.g. counsel, trial
support personnel, party representatives) shall maintain social distancing from those
individuals attending on behalf of other parties and Court personnel to the greatest extent
practicable. The parties agreed that it was not necessary for members of the same trial team
and their staffs to practice social distancing during the trial.

        1.4     Each party is permitted no more than five individuals within the well of the
courtroom at any given time, including counsel, any party representative, and any trial
support personnel. Other attorneys or party representatives may observe proceedings from
the courtroom gallery so long as the parties in good faith endeavor to limit the number of
people within the courtroom. L.R. 83.1(d)(2) shall apply to the trial; however, to facilitate
the reduction of the number of individuals within the courtroom at certain times, the Court
may excuse the presence of local counsel once such counsel acknowledges on the record
their obligations under the rule and further assures the Court of their confidence that the
attorney(s) specially appearing will conduct the trial consistent with the federal rules and
local rules of this Court; and, will appropriately observe all required courtroom decorum.

       1.5    To facilitate social distancing between the parties and their respective trial
attendees, each party will have use of a designated counsel table and conference room
immediately outside the courtroom as designated by the court.




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2.       REMOTE VIDEO VIEWING AND AUDIO AVAILABILITY OF THE
         PROCEEDINGS

         2.1     The Court will provide a second court room in which other members of the
trial teams, party representatives, or witnesses may observe the open court proceedings via
video in the event that these individuals cannot be accommodated in the courtroom where
the trial is being heard. No live video feed will be allowed outside of the Courthouse.

      2.2     The Court will make audio feed of the proceedings available to the public
upon request.

3.       OPENING STATEMENTS AND ANTICIPATED ORDER OF WITNESSES

       3.1    SFFA and the UNC-defendants shall each have 30 minutes to make opening
statements. Student-Intervenors shall be allowed an opening statement of 15 minutes.

       3.2    The parties anticipate that the following witnesses shall testify during the
duration of the bench trial in the following order1:



              Witness                    Party Calling                   Method of Testimony

        Jennifer Kretchmar                    SFFA                                In Court

         Yolanda Coleman                      SFFA                   Ms. Coleman is a former UNC-
                                                                     CH employee and counsel for the
                                                                     UNC-defendants is working to
                                                                     determine her availability

         Peter Arcidiacono                    SFFA                                In Court

       Richard Kahlenberg                     SFFA                                In Court

          Stephen Farmer                      UNC                                 In Court

          Jared Rosenberg                     UNC                                 In Court

           Michael Davis                      UNC                                 In Court

1    The parties have worked in good faith to plan an order of witnesses to afford the parties and witnesses as
     much notice as possible. In furtherance of the goal that any witness testify only once, the parties
     generally agree that witness testimony on cross should not be objectionable as beyond the scope of direct
     and exhibits may be introduced on cross examination. Parties reserve all rights to seek to recall a witness
     purely for rebuttal testimony (and to object to any such attempts). Depending upon specific witness
     availability and the evolving circumstances created by the global pandemic, the parties may inform the
     Court of any modifications to this anticipated order at the final pre-trial conference.

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         Abigail Panter                UNC                           In Court

        Caroline Hoxby                 UNC                             Video

         Bridget Long                  UNC                             Video

        Cecilia Polanco        Student-Intervenors                   In Court

        Rimel Mwamba           Student-Intervenors                   In Court

        Uma Jayakumar          Student-Intervenors                     Video

       Andrew Brennen          Student-Intervenors                   In Court

          Luis Acosta          Student-Intervenors             In Court or by Video

        Kenneth Ward           Student-Intervenors             In Court or by Video

       Star Wingate-Bey        Student-Intervenors                   In Court

         Laura Ornelas         Student-Intervenors                   In Court

        Hanna Watson           Student-Intervenors                     Video

        3.3    Counsel for the parties seeking to present testimony by video will coordinate
directly with IT support for the Court to facilitate the video testimony of those witnesses
identified above. Such coordination shall begin shortly after the entry of this Trial Protocol
and will be concluded no later than the final pre-trial conference. Attorneys must also be
trained on any court equipment required for presentation of case prior to the beginning of
trial. The IT contact for the Court is Jim Sharpe and can be reached at (336) 332-6023.

4.     ORGANIZATION OF EXHIBITS, DEPOSITION DESIGNATIONS, AND
       OTHER WRITTEN OR DEMONSTRATIVE MATERIAL

       4.1     The parties shall provide two copies of all exhibits in binders to the Court.
The parties will also provide an electronic PDF copy of these exhibits to the court reporter
per the court reporter’s expressed preference.

       4.2    To limit the passing of materials in open court and to avoid the need to
approach the witness stand, the parties shall provide exhibit binders at the witness stand.
The parties will work in good faith with respect to exhibits used during cross examination to
present those exhibits in a manner that minimizes the passing of materials in open court,
whether through the display of exhibits via video screen or providing potential exhibits in
separate envelopes to be opened if necessary.


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        4.3    Demonstrative exhibits will be displayed via video screen in the courtroom.
The parties will provide a binder of demonstrative exhibits to the Court if requested at the
start of a witness’s testimony.

        4.4     Counsel may request that certain exhibits that reflect highly confidential
material (e.g. a particular applicant file) be kept confidential and not displayed to the public
via video screen in the courtroom.

       4.5    The parties shall work cooperatively to ensure that any witness testifying via
video has any exhibits provided on screen and/or in hard copy sent to the witness ahead of
time.

5.     SCHEDULE OF PRE-TRIAL FILINGS, FINAL PRE-TRIAL STATUS
       CONFERENCE, AND POST-TRIAL FILINGS

       5.1    The parties shall exchange preliminary exhibit lists by October 13, 2020 and
any objections to the other’s exhibit list by October 22, 2020. The parties will also
supplement any deposition designations and provide counter-designations on this same
schedule.

         5.2   Motions in limine, if any, shall be filed by October 19, 2020 (three weeks ahead
of trial). Responses shall be due by October 26, 2020. Motions will not be filed before the
parties meet and confer and attempt to resolve any evidentiary disputes without motion
practice.

       5.3     The parties shall submit a joint stipulation of uncontested facts, deposition
designations, and counter-designations to the Court in advance of trial. Likewise, in order to
streamline the presentation of record evidence and to limit the number of witnesses
appearing in open court, the parties may submit certain witness testimony via declaration.
None of these written materials must be read into the record, and all such materials will be
submitted to the Court by November 2, 2020.

        5.4    A final pre-trial conference will be held on November 2, 2020 at 1:00 p.m. and
shall be held in-person.

        5.5       Consistent with the Court’s April 1, 2020 Order, (ECF No. 202), the parties
need not file trial briefs three weeks prior to the start of trial. Instead, the parties shall file
post-trial briefs to include proposed finding of facts and conclusions of law following the
conclusion of the trial of this matter and no later than 30 days following the receipt of the
official trial transcripts of the trial with opposition briefs due no later than 21 days thereafter.




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6.      ESTIMATED LENGTH OF TRIAL AND WITNESS TESTIMONY;
        EXCHANGE OF DEMONSTRATIVE AND CROSS EXAMAMINATION
        EXHIBITS AND CLOSING ARGUMENTS

       6.1    Below is a chart which sets forth the parties’ anticipated length of direct and
cross examination for the witnesses included in the proposed protocol. Subject to the
Court’s schedule and guidance, parties anticipate trial will occur from roughly 9:30 a.m. to
5:30 p.m. each day with a 15-minute break in the morning, 15-minute break in the afternoon,
and 60-minute lunch recess.


       Event/Witness        Party         Estimated Length of          Anticipated Day of Trial
                            Calling            Testimony
     Opening Statements       All             SFFA: 30 min                    Day 1, Nov. 9
                                              UNC: 30 min
                                           Student-Intervenors:
                                                 15 min
     Jennifer Kretchmar      SFFA             SFFA: 2 hours                   Day 1, Nov. 9
                                              UNC: 30 min
     Peter Arcidiacono*      SFFA             SFFA: 5 hours                Day 1-2, Nov. 9-10
                                              UNC: 3 hours
     Richard Kahlenberg*     SFFA             SFFA: 3 hours                   Day 3, Nov. 12
                                              UNC: 2 hours
       Stephen Farmer        UNC              UNC: 4 hours                 Day 3-4, Nov. 12-13
                                              SFFA: 2 hours
       Jared Rosenberg       UNC              UNC: 3 hours                    Day 4, Nov. 13
                                             SFFA: 1.5 hours
        Michael Davis        UNC               UNC: 1 hour                    Day 5, Nov. 16
                                             SFFA: 0.5 hours
        Abigail Panter       UNC              UNC: 4 hours                 Day 5-6, Nov. 16-17
                                              SFFA: 2 hours
       Caroline Hoxby        UNC              UNC: 5 hours                 Day 6-7, Nov. 17-18
                                              SFFA: 3 hours
        Bridget Long         UNC             UNC: 1.5 hours                   Day 7, Nov. 18
                                              SFFA: 1 hour
     Student-Intervenor      Student-      Student-Intervenors:               Day 8, Nov. 19
         Witnesses:        Intervenors   7 hours for all witnesses
       Cecilia Polanco                                                 Certain of Student-Intervenors’
       Rimel Mwamba                                SFFA:                  witnesses may testify the
       Uma Jayakumar                     1.5 hours for all witnesses   morning of Day 9, Nov. 20 if
      Andrew Brennen                                                               needed.
         Luis Acosta
       Kenneth Ward
      Star Wingate-Bey
       Laura Ornelas
       Hanna Watson

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     Closing Arguments          All                                            Day 9, Nov. 20
        (if the Court
       determines they
      should take place
    before submission of
     post-trial briefing)

*Student-Intervenors reserve the right to cross-examine SFFA’s expert witnesses as necessary
but expect such cross-examination not to be more than ten minutes.

       Based on this negotiated schedule of streamlined witness testimony, and the
submission of testimony through alternate means in light of the COVID-19 pandemic,
including declarations, deposition testimony designations, and the submission of expert
reports in lieu of live witness testimony, the parties believe that a 10-day bench trial is feasible.
The above schedule is designed to allow the parties to conclude the trial in 9 days with the
benefit of Monday, November 23, 2020 as “day 10” if needed.

       The parties have agreed to the above schedule, which resolves any dispute about the
division of time.

       6.2      With respect to the exchange of cross examination and demonstrative
exhibits, disclosure of demonstrative exhibits shall occur 48 hours before a witness’s
scheduled testimony, with objections to be exchanged 12 hours later. Exhibits that might be
used for cross examination would be disclosed by 5 p.m. the night before the witness’s
anticipated testimony. The parties shall meet and confer in an effort to resolve objections
before the witness’s testimony. If the objection is not resolved the Court will resolve the
objection before the witness’s testimony.

      6.3    Closing arguments shall occur at close of trial. The length of closing will be
determined during trial.

       SO ORDERED on this, the 20th day of October 2020.


                                              /s/ Loretta C. Biggs
                                              United States District Judge




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